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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

In re: Case No.: 17-21018-LMI
Aleida C. Nunez, Chapter 13

Debtor.
/

NOTICE OF FILING OF CASE LAW REFERENCED IN DEBTOR’S AMENDED
RESPONSE IN OPPOSITION TO CREDITOR’S OBJECTION TO CONFIRMATION

COMES NOW the Debtor, Aleida C. Nunez, and files the following case law: Smith v.
Reverse Mortgage Solutions, Inc., 200 So.3d 221 (Fla. App., 2016) and Edwards v. Reverse
Mortgage Solutions, Inc., 187 So.3d 895 (Fla. App., 2016).

Respectfully submitted,

By: VY).

FREIRE & GONZALEZ, P.A.

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Smith v. Reverse Mortg, Solutions, Inc., 200 $o.3d 221 (Fla. App., 2016)

200 So.3d 221

Celia Elmira SMITH, Appellant,
Vv.
REVERSE MORTGAGE SOLUTIONS,
INC., etc., Appellee.

No. 3D13-2261.

District Court of Appeal of Florida,
Third District.

Sept. 21, 2016.

Kronhaus Law Firm, P.A., and Julie W.
Kronhaus, Winter Park; Andrew D. Tarr, P.A.,
and Andrew D. Tarr, for appellant.

Marinosci Law Group, P.C., and Bart
Heffernan, Ft. Lauderdale; Akerman LLP,
and Nancy M. Wallace, Tallahassee, William
P. Heller, Fort Lauderdale, and Kathryn B.
Hoeck, Orlando, for appellee.

Before SHEPHERD, ROTHENBERG and
SCALES, JJ.

On Motion for Rehearing
SCALES, J.

We deny Reverse Mortgage Solutions's
motion for rehearing. We withdraw our prior
opinion of July 15, 2015, and substitute the
following opinion for that previously issued.

Celia Smith (“Mrs. Smith”), who was the
defendant below, appeals from a Final
Judgment of Foreclosure arising out of a
home equity conversion mortgage signed and
executed in May of 2008, by Mrs. Smith and
her now deceased husband, Kenneth Smith
(“Mr.Smith”), Because Reverse Mortgage
Solutions, the plaintiff below and appellee
here, failed to establish the occurrence of a
condition precedent to its right to foreclose,
we reverse.

I. Facts

 

On May 8, 2008, while Mr. and Mrs. Smith
were married, Mr. Smith signed and executed
an adjustable rate note secured by a home
equity conversion mortgage, or what is
commonly referred to as a “reverse
mortgage.” A reverse mortgage allows elderly
homeowners to receive monthly payments
from a lender based upon the

[200 So.3d 223]

homeowners' equity in their principal
residence. Instead of the more conventional
mortgage arrangement—where the borrower
receives a lump sum from a lender, and then
repays the lender over time with monthly
payments—generally, in a reverse mortgage
arrangement, the lender makes monthly
payments to the elderly homeowners, and the
homeowners' obligation to répay the lender
ripens only upon the homeowners’ death or
when the homeowners move from their
home, See, e.g., Bennett v. Donovan, 703
F.3d 582, 584-85 (D.C.Cir.2013).

The reverse mortgage at issue here
encumbered the residential property where
Mr. and Mrs. Smith lived together as their
principal residence. Mrs. Smith executed the
mortgage, but she did not sign the promissory
note.!

Following Mr. Smith's death in December
2009, Reverse Mortgage: Solutions filed a
verified complaint for foreclosure of the
reverse mortgage, alleging that Mr. Smith was
the “sole borrower under the note and
mortgage” and that his death triggered the
acceleration clause under the mortgage
agreement. No other ground for acceleration
was alleged.

The verified complaint alleged that: (i)
$229,475 was due under the note and
mortgage, plus interest; (ii) all conditions
precedent to the acceleration of the note, and
to foreclose on the mortgage, had been
fulfilled or had occurred; and (iii) Mrs. Smith
owned the property.2 Mrs. Smith's answer
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denied the complaint's condition precedent
allegations, and specifically pled: “This
mortgage should not. be accelerated as the
Defendant [Mrs. Smith] is still alive and
living in the real property as her homestead.”

Following a bench trial, the trial court entered
a form final judgment of foreclosure in favor
of Reverse Mortgage Solutions in the amount
of $248,403.59, foreclosing on Mrs. Smith's
interest in the property and setting a
September 2013 foreclosure sale date, The
final judgment contains no specific findings
of fact or other adjudications with regard to
whether all conditions precedent had
occurred.

Mrs. Smith appeals the trial court's Final
Judgment of Foreclosure, contending that
acceleration of the mortgage is inappropriate
under both the express provisions of the
mortgage document and the federal statute
governing the insurability of reverse
mortgages. by. the U.S. Department of
Housing and Urban Development (HUD).3
Essentially, Mrs. Smith argues that she is a
co-borrower under the mortgage, which
prohibits foreclosure until she either dies or
no longer maintains the property as her
principal residence.

We conclude that Mrs. Smith is a co-borrower
as contemplated in the mortgage

[200 So.3d 224]

and, therefore, a condition precedent to
Reverse Mortgage Solutions's right to
foreclose (to wit, Mrs. Smith's death) has not
occurred. Thus, we remand for a new trial to
allow the trial court to adjudicate specifically
whether the other condition precedent to
Reverse Mortgage Solutions's right to
foreclose has occurred, i.e., whether the
encumbered real property was Mrs. Smith's
principal residence as of the date of the trial.

II, Analysis

 

A. Issue Before the Court

The issue before this Court is whether the
trial court erred in its implicit determination
that all conditions precedent to Reverse
Mortgage  Solutions's entitlement to
foreclosure had occurred. Specifically, we
must determine whether, as a matter of law,
Mrs. Smith is a “Borrower” as that term is
used in the mortgage. If Mrs. Smith is a
“Borrower,” either her death or her ceasing to
use the subject property as her principal
residence is a condition precedent to Reverse
Mortgage Solutions's right to foreclose the
mortgage.

B. Standard of Review

We first note that, consistent with the dictates
of Applegate v. Barnett Bank of Tallahassee,
377 So.2d 1150 (Fla.1979), and its progeny,
the burden is on Mrs. Smith as the appellant
to demonstrate error by providing this Court
with an adequate record of the proceedings
below, and, without such a record, affirmance
is normally required. When, as here, the issue
presented involves a pure question of law
(i.e., judicial construction of the reverse
mortgage to determine whether Mrs. Smith is
a “Borrower” as defined in the reverse
mortgage), and the error of law appears on
the face of the final judgment,‘ the absence of
a transcript does not prevent reversal. See
BarrNunn, LLC v. Talmer Bank & Trust, 106
So.gd 51, 52 (Fla. 2d DCA 2013) (“[T]he
absence of a transcript does not preclude
reversal where an error of law is apparent on
the face of the judgment[.]”) (quoting Chirino
v. Chirino, 710 So.2d 696, 697 (Fla. 2d DCA
1998) ).

Normally, in a case such as this, the issue
before this Court simply would be whether
the trial court's conclusion (subsumed in the
final judgment)—that all conditions precedent
to the plaintiff's entitlement to. foreclosure
have occurred—is supported by competent
substantial evidence. See Verneret v.
Foreclosure Advisors, LLC, 45 So.3d 889, 891
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(Fla. 3d DCA 2010) (“Findings of fact by a
trial judge in a nonjury proceeding will not be
set aside on review unless totally unsupported
by competent and substantial evidence.”). In
this case, however, the trial court’s entry of
the Final Judgment of Foreclosure hinged not
on weighing any trial evidence, but, rather,
upon an interpretation of the reverse
mortgage. The trial court found that all
conditions precedent had occurred based
upon its legal conclusion that Mrs. Smith was
not a “Borrower” under the mortgage.

A trial court's construction of notes and
mortgages involves pure questions of law, and
therefore is subject to de novo review. Nagel
v. Cronebaugh, 782 So.2d 436, 439 (Fla. 5th
DCA 2001) (determining that general
contract principles governed the trial court's
interpretation of the promissory note; thus,
the appropriate standard of review was de
novo). We, therefore,

[200 So.3d 225]

review the trial court's construction of the
reverse mortgage de novo.

C. Condition Precedent to Foreclosure

It is axiomatic that in a mortgage foreclosure
action a plaintiff must plead and prove the
occurrence of all conditions precedent. See
Konsulian v. Busey Bank, NA., 61 So.3d
1283, 1285 (Fla. 2d DCA 2011).

Consistent with the requisites of 12 U.S.C. §
1715zZ—20(j}8 governing reverse mortgages
insured by HUD, the subject mortgage
contains plain language expressly

conditioning the lender's acceleration and

foreclosure rights on the death of any
“Borrower” whose principal residence is the
property encumbered by the mortgage.
Because the parties stipulate that Mrs, Smith
has not died, and because Mr. Smith's death
is the sole ground alleged for Reverse
Mortgage Solutions's acceleration and
foreclosure, if Mrs. Smith is a “Borrower”

 

-3-

under the mortgage, then a condition
precedent to the lender's right to foreclose has
not occurred, thereby precluding the lender's
foreclosure action.

D. Analysis of Relevant Mortgage
Language—Mrs. Smith's Status as a
“Borrower”

We begin our analysis of whether Mrs. Smith
is a “Borrower” by looking at the language of
the mortgage.® The first paragraph of the
mortgage begins by identifying Mr. Smith as
“a married man” and the mortgagor, which it
thereafter refers to as the “Borrower.”

The mortgage's fourth paragraph contains the
Borrower Covenant,? whereby “the Borrower”
acknowledges and covenants to the
mortgagee that: (i) the Borrower owns the
property; (ii) the Borrower has the right to
mortgage, grant, and convey the property;
and (iii) the property is otherwise
unencumbered. The Borrower Covenant also
requires the Borrower to defend the title to

the property.

The final portion of the mortgage plainly
indicates that: (2) both Mr. and Mrs, Smith
are the “Borrower” under the mortgage; (2)
both Mr. and Mrs. Smith signed the
mortgage as the “Borrower”; and (3) both
Mr. and Mrs. Smith's signatures were verified
jointly by two witnesses and one notary jurat.

[200 So.3d 226]

Specifically, immediately before the
witnesses's signatures, the mortgage states
the following: “BY SIGNING BELOW,
Borrower accepts and agrees to the terms and
covenants contained in this Security
Instrument and in any rider(s) executed by
Borrower and recorded with it.” Below this
statement, both Mr. Smith's and Mrs. Smith's
signatures appear. Mrs. Smith's signature was
no accident as her name was pre-printed on
the document below the line she was required
to sign.
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Paragraph 9 of the mortgage contains the
condition precedent required in such reverse

mortgages by virtue of 12 U.S.C. § 1715z- ©

20(j). This provision specifically provides:
“Lender may require immediate payment in
full of all sums secured by this Security
Instrument if: (i) A Borrower dies and the
Property is not the principal residence
of at least one surviving Borrower [.]”
(emphasis added).

Thus, based on the plain and unambiguous
language of the mortgage—which was
executed by both Mr. and Mrs. Smith—(i)
both Mr. and Mrs. Smith were treated as the
“Borrower” under the mortgage, and (ii) each
borrower is protected from the foreclosure of
the mortgage until both borrowers die.

Hence, this Court's determination that Mrs.
Smith is a co-borrower—and, therefore, that
her death is a condition precedent to Reverse
Mortgage Solutions’ ability to foreclose—
could end here.

E. Conclusion Consistent With Florida's
Homestead Provisions

Our conclusion that Mrs. Smith is a
“Borrower” under the mortgage is also
supported by the reference to Mr. Smith as a
“married man” in the mortgage's opening
paragraph, coupled with the provision of the
Borrower Covenant whereby “Borrower”
expressly covenants that “Borrower” has the
right to mortgage, grant, and convey the
property.

Florida's Constitution requires Mrs. Smith's
signature on the mortgage to effectuate the
lender's security interest in homestead
property. Art. X, § 4(c), Fla. Const. (“The
owner of homestead real estate, joined by the
spouse if married, may alienate the
homestead by mortgage ....”); see Pitts v.
Pastore, 561 So.2d 297, 301 (Fla. 2d DCA
1990) (holding that a mortgage is ineffectual
as a lien until such time as either the spouse
joins in the alienation or the property loses its

 

homestead status), Additionally, because Mr.
Smith was married to Mrs. Smith at the time
the mortgage was executed, only a deed
containing Mrs. Smith's signature could
convey with validity her interest in the

property. Id.

Therefore, only if Mrs, Smith is a “Borrower”
would this portion of the Borrower Covenant
be accurate; Mr. Smith, acting alone, did not
“have the right” to either encumber or convey
both his and Mrs. Smith's interest in the
couple's homestead property.®

Plainly, Reverse Mortgage Solutions intended
for the Borrower Covenant to confirm the
mortgage's validity and enforceability by
having “Borrower” warrant its capacity and
ability to encumber and convey the property.
Under Florida's constitutional homestead
provisions, this goal is achieved only if Mrs.
Smith is a “Borrower.”

F, Application of Federal Reverse Mortgage
Law

Even more persuasive to our determination is
the application of relevant provisions

[200 So.3d 227]
of federal law related to reverse mortgages,2

At oral argument, the parties conceded that
the subject mortgage was, indeed, a “home
equity conversion mortgage” issued by
Reverse Mortgage Solutions and insured by
HUD, pursuant to 12 U.S.C. § 1715z—20.8 12
U.S.C. § 1715z-20(j) is titled “[s]Jafeguard to
prevent displacement of homeowner” and
provides, in relevant part:

The Secretary may not insure a
home equity conversion
mortgage under this section
unless such mortgage provides
that the homeowner's
obligation to satisfy the loan
obligation is deferred until the
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homeowner's death, the sale
of the home, or the occurrence
of other events specified in
regulations of the Secretary.
(emphasis added)

This provision goes on to expressly define the
term “homeowner” as including the spouse of
the homeowner: “For purposes of this
subsection, the term ‘homeowner’ includes
the spouse of a homeowner.” Id.

While the plain language of the statute
imposes an obligation only on the Secretary of
HUD with regard to provisions that must be
contained in reverse mortgages insured by
HUD, it is undisputed that the subject
mortgage is, indeed, a reverse mortgage
insured by HUD. We are compelled to
construe a contract consistent with specific
statutes that regulate and govern the contract.
See Westside EKG Assocs. v. Found. Health,
932 So.2d 214, 216 (Fla, 4th DCA 2005) ; see
also S. Crane Rentals, Inc. uv. City of
Gainesville, 429 So.2d 771, 773 (Fla. ist DCA
1983) (“The laws which exist at the time and
place of the making of a contract enter into
and become a part of the contract made, as if
they were expressly referred to and
incorporated in its terms, including those
laws which affect its construction, validity,
enforcement or discharge.”).

The explicit purpose of 12 U.S.C. § 1715z-
20(j) is to provide a safeguard against the
displacement of elderly homeowners. The
statute would be without effect if a mortgagee
were permitted to foreclose on a mortgage
while a “homeowner,” as that term is
expressly defined in the statute, maintains the
subject property as his or her principal
residence. This is true especially when, as
here, the “homeowner” executed the very
mortgage giving the mortgagee a security
interest in the subject property.

Our interpretation of the subject reverse
mortgage is made rather easy in light of
Congress's clear intent to protect from

 

foreclosure a reverse mortgagor's surviving
spouse who is maintaining the encumbered
property as his or her principal residence.

[200 So,3d 228]

u The subject reverse mortgage is insured by
HUD pursuant to a  Congressionally
prescribed scheme that expressly requires
deferment of the obligation to satisfy the loan
secured by such mortgages until the death of
the borrower and any spouse of the
borrower.

G. Summary

Against the backdrop of this unambiguous
Congressional mandate, it would be difficult,
if not impossible, for us to construe Mrs.
Smith as anything other than a “Borrower”
for the purposes of Paragraph 9's express
conditions precedent. Our conclusion is
reinforced by Mrs. Smith having executed the
subject mortgage before a notary and two
witnesses—over her pre-printed name on the
subject mortgage—under a heading that
reads, “BY SIGNING BELOW, Borrower
accepts and agrees to the terms and
covenants contained ....” in the mortgage
(emphasis added). Our conclusion is further
reinforced by the express provisions of the
mortgage's Borrower Covenant, as well as
Florida's constitutional. requirement that the
reverse mortgage could not have encumbered
Mrs, Smith's interest in the subject property
absent her signature. Art. X, § 4(c), Fla.
Const.

III. Conclusion

In light of the foregoing, we conclude that, as
a pure question of law, Mrs. Smith was a
“Borrower” as that term is contemplated in
Paragraph 9 (Grounds for Acceleration of
Debt) of the subject reverse mortgage.
Therefore, pursuant to Paragraph 9, as a
condition precedent to its entitlement to
foreclosure, Reverse Mortgage Solutions was
required to establish either that: (i) Mrs.
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Smith had died, or, (ii) as of August 5, 2013
(the date of trial), the property was no longer
Mrs. Smith's principal residence. Reverse
Mortgage Solutions pleaded neither
occurrence.

Reversed and remanded for entry of
judgment in favor of Mrs. Smith.12

ROTHENBERG, J., concurs.
SHEPHERD, J., dissenting.

The labor expended by the majority to keep
Kenneth Smith's widow in her home is
admirable. Unfortunately, the legal analysis
used does not measure up. For this reason, I
respectfully dissent.

I.

The central issue in this case is whether there
was a default under the mortgage, authorizing
Reverse Mortgage Solutions, Inc., to
foreclose. Reverse Mortgage Solutions asserts
there was a default under Paragraph 9(a)(i) of
the mortgage. This paragraph reads as
follows:

[200 So.3d 229]

9g. Grounds for Acceleration
of Debt.

(a) Due and Payable. Lender
may require immediate
payment in full of all sums
secured by this Security
Instrument if:

Gi) A Borrower dies and the
Property_is not the principal
residence of _at least one
surviving borrower, or ...

(underline emphasis added).

The applicable acceleration clause in the
mortgage is triggered when: (1) a Borrower

 

dies; (2) there is a “surviving borrower;” and |
(3) the property is not the residence of a
surviving borrower. It was Reverse Mortgage
Solution's burden at trial to prove the
existence of the default. The Court has not
been provided with a transcript of the trial,
and the form Final Judgment of Foreclosure
includes no findings of fact. It merely states,
“On the evidence presented, IT IS ORDERED
AND ADJUDGED that Plaintiffs Final
Judgment of Foreclosure is GRANTED.” The
trial court may have reasoned in one of two
ways: (1) Final Judgment of Foreclosure was
warranted because Celia Smith is not a
“Borrower” under the mortgage; or (2) Celia
Smith was a “Borrower,” but a Final
Judgment of Foreclosure was nevertheless
warranted because by the date of the trial, the
home was no longer her “principal residence.”
The majority grounds its reversal of the Final
Judgment of Foreclosure in this case on its
belief that “The trial court found that all
conditions precedent had occurred based
upon its legal conclusion that Mrs. Smith was
not a ‘Borrower’ under the mortgage.” Maj.
Op. at p. 224, There is no record support for
the statement. The Court may as well have
reasoned that Celia Smith was a “Borrower”
but no longer made the home her “principal
residence.”4

This case should be affirmed on the strength
of Applegate v. Barnett Bank of Tallahassee,
377 So.2d 1150 (Fla.1979). As the Florida
Supreme Court explained, “Even when based
on erroneous’ reasoning, a conclusion or
decision of a trial court will generally be
affirmed if the evidence or an alternative
theory supports it. ” Applegate, 377 So.2d
at 1152 (emphasis added). I do not believe
Celia Smith was a “Borrower,” as will be
demonstrated below, but even if she was, the
record of proceedings may have included an
alternate ground for affirmance if one had
been brought to us. We should affirm the
Final Judgment of Foreclosure in this case for
lack of a complete record.

II.
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If it is necessary to join issue on the question
of whether or not Celia Smith is a “Borrower”
under the mortgage document, I conclude she
is not. The mortgage document in this case is
a home equity conversion

[200 So.3d 230]

mortgage, insured by the United States
Department of Housing and Urban
Development Home Equity Conversion
Mortgage (HECM) Program for Elderly
Homeowners, under 12 U.S.C.A. § 1715z-20.
The mortgage and associated promissory note
are HECM form contract documents which
follow the statute. The face of the mortgage
identifies the decedent, Kenneth Smith, and
no other person, as the “Borrower”:

State of Florida
ADJUSTABLE RATE

HOME EQUITY CONVERSION
MORTGAGE

THIS MORTGAGE (“Security
Instrument”) is given on May
08, 2008. The mortgagor is
KENNETH SS. SMITH, A
MARRIED ._MAN, _ whose
address_is_ 9991 SW_ 154TH

AVENUE, MIAMI, FL 33196
(“Borrower”).... The agreement
to repay is evidenced by
Borrower's Note dated the same
date as this Security Instrument
(“Note”). This Security
Instrument secures to Lender:
(a) the repayment of the debt
evidenced by the Note... up toa
maximum principal amount
Five Hundred Forty—Four
Thousand One Hundred
Eighty~Five and 00/100
Dollars ($544,185.00).

The full debt, including all
amounts described in (a), (b),
and (c) above, if not paid earlier,

 

is due and _ payable on
September 07, 2086. For
this purpose, Borrower does
hereby mortgage, grant and
convey to Lender, the following
described property located in
MIAMI-DADE county,
Florida:

The real property located at
9991 SW 154th Avenue, Miami,
FL, in the County of Miami
Dade, state of FL, described
more fully on Exhibit A attached
to this mortgage.

(underline emphasis added).

The majority counters that Celia Smith must
be a “Borrower” under the mortgage because
she signed it. The signature block, found on
the last page of the mortgage document, does
indeed bear Celia Smith's signature. It reads
as follows:

BY SIGNING BELOW,
Borrower accepts and agrees to
the terms and _ covenants
contained in this Security
Instrument and in any rider(s)

executed by Borrower and
recorded with it.
Witness: /s/
/s/

Signature:

/s/_ Kenneth 8S. = Smith ©
/s/ Celia Smith
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CELIA SMITH

However, there is nothing in the signature
block (or elsewhere in the mortgage
document) that indicates Celia Smith signed
the document as a “Borrower.” In fact, the
language of the signature block continues to
reference a single “Borrower,” just as does the
opening paragraph of the mortgage quoted
above.4

[200 So.3d 231]

The only argument the majority offers to the
contrary is its statement that “Mrs. Smith's
signature was no accident” because “it was
pre-printed on the document below the line
she was required to sign.” All can concede
that her signature on the document was

arranged with forethought and was not an

accident. However, that just begs the question
of the purpose of the drafters in requiring her
signature,

The majority recognizes that a necessary
purpose for the signature is that the mortgage
would have been unenforceable absent Celia's
joinder in the document. See Art. X, § 4(c),
Fla. Const. (“The owner of homestead real
estate, joined by the spouse if married, may
alienate homestead by mortgage, sale, deed or
gift ...”); Pitts v. Pastore, 561 So.2d 297, 301
(Fla. 2d DCA 1990) (holding that a mortgage
is ineffectual as a lien until such time as either
the spouse joins in the alienation or the
property loses its homestead status.), This
imputation of purpose for Celia Smith's
signature is harmonious with the evident
intent of the drafters in the first paragraph of
the mortgage document. The additional
imputation, interpretively imposed on the
mortgage document by the majority, conflicts
with the unambiguous definition and identity
of the “Borrower” in the first paragraph of the
document. It is a basic principle of statutory
and contractual interpretation that where one
interpretation of a statute or contract appears
to conflict with another, the courts will choose

 

an interpretation which harmonizes the
conflicting interpretations wherever possible.
See Homestead v. Johnson, 760 So.2d 80, 84
(Fla.2000) (“[W]e rely upon the rule of
construction requiring courts to read
provisions of a contract harmoniously in
order to give effect to all portions thereof.”);
see also Triple E Dev. Co. v. Floridagold
Citrus Corp., 51 So.2d 435, 438-39 (Fla.1951)
(“{(I]f clauses in a contract appear to be
repugnant to each other, they must be given
such an interpretation and construction as
will reconcile them if possible; if one
interpretation would lead to an absurd
conclusion, then such interpretation should
be abandoned and the one adopted which
would accord with reason and probability”).
We should do so in this case.

The conclusion reached by the majority that
Celia Smith is a “Borrower” on the mortgage
is also counter to the express terms of the
promissory note. The promissory note defines
the “Borrower” as meaning “each person
signing at the end of this Note.” The only
person who signed the promissory note was
the decedent, Kenneth Smith. Moreover, the
promissory note contains substantially
identical acceleration language to that found
in the mortgage document. Paragraph 7 of the
promissory note reads as follows in relevant
part:

7. IMMEDIATE PAYMENT
IN FULL
(A) Death or Sale
Lender may require immediate
payment in full of all
outstanding principal and
accrued interest if:

(i) A Borrower dies and the’
Property _is not the principal
residence of at least one
surviving borrower, or...
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(underline emphasis added). The decision of
the majority creates the anomalous result that
the “Borrower”’—expressly defined in two
simultaneously executed nd __ related
documents to be Kenneth Smith—now has
two meanings. Although I am

[200 So.3d 232]

unwilling to place my total confidence in the
federal drafters of these financial instruments
(see Part III, infra), I do give them more
credit than does the majority in their ability
to use the same word, in the same fashion, at
the same time, in the same transaction.

Finally, the use of a single-borrower reverse
mortgage vehicle by a married couple is not
ipso facto nefarious. The calculation of the
amount that can be borrowed and the size of
the resulting line of credit, lump sum, or
periodic payment available to the borrower
varies with the age of the borrower. See
Plunkett .v. Castro, 67 F.Supp.3d 1
(D.D.C.2014) (explaining why an older
borrower will almost always be able to receive
a bigger loan amount). One might envision
many circumstances—e.g., the need for a
significant, large lump sum to apply to a
medical emergency—where a married couple
might find a_ single-borrower reverse
mortgage to be appropriate for their needs.
By its decision today, the majority imposes its
own collectivistic view of life planning on a
cadre of seniors who have demonstrated they
are capable of amassing wealth and governing
their own affairs. We should allow the
citizenry to be their own deciders.

III.

The final question is whether the fact that the

mortgage in this case is insured under the,

federal Home Equity Conversion Mortgage
Program for Elderly Homeowners compels a
contrary conclusion. The majority is of two
minds on the question. The majority first
agrees that “the plain language of the statute
imposes an obligation only on the Secretary

 

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of HUD [5 Iwith regard to the provisions that
must be contained in reverse mortgages
insured by HUD” but in the next breath
incorporates section 12 U.S.C.A. § 1715z—20(j)
into the mortgage document in this case. Maj.
Op. at pp. 227-28 (emphasis added). The
majority was right the first time.

The language relied upon by the majority
reads as follows:

The Secretary may not insure a
home equity conversion
mortgage under this section
unless such mortgage provides
that the homeowner's obligation
to satisfy the loan obligation is
deferred unti] the homeowner's
death, the sale of the home, or
the occurrence of other events
specified in regulations of the
Secretary. For purposes of this
subsection, the term
“homeowner” includes the
spouse of a homeowner.

12 U.S.C.A. 1715z-20(j). However, the
majority fails to appreciate that at the time
Kenneth Smith signed the mortgage
document and promissory note, the Secretary
was promoting and cheerfully insuring single-
borrower home equity conversion mortgages
in circumstances of the type before us. These
actions were based on a rule sentiently
created by the Secretary, which the Secretary
has since all but admitted directly conflicted
with 1715z—20(j), and which the United States
District Court for the District.of Columbia has
recently confirmed to be so. Bennett v.
Donovan, 4 F.Supp.3d 5, 8, 2013 WL
5424708 at *1 (D.D.C.2013). The rule read as
follows:

The mortgage shall state that
the mortgage balance will be
due and payable in full if a
mortgagor dies and the property
is not the principal residence of
at least one _ surviving
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mortgagor, or a mortgagor
conveys all or [sic] his or her
title in the property and no
other mortgagor retains title to

the property.

24 C.F.R. § 206,.27(c)(4) (adopted August 16,
1995). Asked by the United States

[200 So.3d 233]

Court of Appeals for the District of Columbia
Circuit during an intermediate appellate
phase of the Bennett litigation to justify the
rule in the face of the governing statute, the
only explanation the Secretary could muster
for flouting the plain language of the federal
statute was “concern[ | about the scenario in
which a homeowner, after taking out a
reverse mortgage, marries a spouse—
particularly a young spouse—and thereby
significantly increases a lender's risk.”
Bennett v. Donovan, 703 F.3d 582, 586
(D.C.Cir.2013).22 More recently, just five
months ago—perhaps recognizing that the
United States Congress was right all along or,
forfend, having a momentary mental relapse
‘ to that quaint time in the past when it was
dogma that the Congress made the laws and
the Executive carried them out—the
Secretary, at great expense and additional
program risk, is now offering to purchase
single-borrower home equity loans of the type
involved in this case from the private lenders
who funded them and allowing the non-
borrowing spouse to remain in the home until
she dies or leaves the residence. See Letter
2015-03 from U.S. Dep't of Hous. and Urban
Dev., to All Approved Mortgagees at p. 8 et
seq. (January 29, 2015) (on file with author).

In all of this, HUD recognizes that section
1715z—20(j) does not empower it to void or
alter the terms of a bona fide mortgage
contract between a “Borrower” and a private
lender. Id. at p. 3; Bennett v. Donovan, 797
F.Supp.2d 69, 77 (D.D.C.2011) (“As the
Secretary points out, whether the mortgages
were properly insured or not does not affect

 

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the mortgage's own contractual terms, and it
is these terms that require Plaintiff's spouses’
estates to repay the mortgages or sell the
houses.”); see also United States v. Neustadt,
366 U.S, 696, 709 and n, 24, 81 S.Ct. 1294, 6
L.Ed.2d 614 (1961) (finding that existence of
mortgage insurance program did not create a
legal relationship between the government
and the individual mortgagor.). Yet, the
majority somehow seeks to empower HUD
where Congress through section 1715z—20(j)
does not. Perhaps the majority is swayed by
the initial-appearing heavy-handedness or
unfairness of the program. However, there is
no allegation of fraud, misrepresentation, or
trickery in this case, and fairness is in the eye
of the beholder. As explained in full detail in
Plunkett, HUD incentivized this program in
this fashion. It does not follow that just
because HUD went rogue, agreements made
between private parties are ipso facto
unenforceable. In this case, a private lender
and a private individual made their own
private deal. We should not contort ourselves
to impose our own view of what is right or
good. “Law is something more than will
exerted as an act of power.” Hurtado v.
California, 110 U.S. 516, 535, 4 S.Ct. 111, 28
L.Ed, 232 (1884).

I would affirm the decision of the trial court.

Qn Motion for Rehearing En Banc

Before SUAREZ, CJ., and WELLS,
SHEPHERD, ROTHENBERG, LAGOA,
SALTER, EMAS, FERNANDEZ, LOGUE and
SCALES, JJ.

Reverse Mortgage Solutions' motion for

rehearing en banc is denied.

[200 So.3d 234]

SUAREZ, C.J., and WELLS, ROTHENBERG,
SALTER, FERNANDEZ, LOGUE = and
SCALES, JJ., concur.

SHEPHERD, LAGOA and EMAS, JJ., dissent.
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Notes:

1 Unlike a traditional mortgage arrangement,
in a reverse mortgage arrangement, the
lender, after determining the value of the
borrower's principal residence, generally will
make regular (usually monthly) payments to
the borrower during the borrower's lifetime.
The note's principal amount is derived by a
lender formula that includes the sum of the
value of the lender's payments to the
borrower, closing costs, accrued interest,
insurance and servicer/lender fees. See, e.g.,
Bennett, 703 F.3d at 584-85. While the
subject note and mortgage both reference a
“Loan Agreement” (which, presumably,
defines the monthly amount paid to the
borrower and the calculation of the note's
principal), no Loan Agreement is contained in
the record on appeal. The subject note's
principal amount is $544,185.

2 Pursuant to Eleventh Judicial Circuit
Administrative Order No. 10-03 A1, Reverse
Mortgage Solutions filed, contemporaneously
with its complaint, a form certifying that the
subject property is Mrs. Smith's homestead
residence,

3 See 12 U.S.C. § 1715z-20()), infra note 4.

4 Paragraph 7 of the Final Judgment of
Foreclosure expressly forecloses all of Mrs.
Smith's interest in the subject property and
implicitly recognizes that she is still alive.
Hence, the error appears on the face of the
judgment on appeal.

5 This statutory provision, discussed in more
detail in section II. F, below, reads in its
entirety, as follows:

Gj) Safeguard to prevent
displacement of homeowner

The Secretary may not insure a
home

equity conversion

 

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mortgage under this section
unless such mortgage provides
that the homeowner's obligation
to satisfy the loan obligation is
deferred unti] the homeowner's
death, the sale of the home, or
the occurrence of other events
specified in regulations of the
Secretary. For purposes of this
subsection, the term
“homeowner” includes the
spouse of a homeowner. Section
1647(b) of Title 15 and any

implementing regulations
issued by the Board of
Governors. of the Federal

Reserve System shall not apply
to a mortgage insured under
this section.

& With regard to the note, only Mr. Smith is
referenced as the “Borrower.” Mrs. Smith is
neither mentioned nor referenced in the note.
Reverse Mortgage Solutions, however, seeks
no relief from Mrs. Smith based on the note.
It is only Mrs. Smith's status as a mortgagor
that is implicated in this appeal.

2 The Borrower Covenant reads in its entirety,
as follows:

BORROWER COVENANTS that
Borrower is lawfully seised of
the estate hereby conveyed and
has the right to mortgage, grant
and convey the Property and
that the Property is
unencumbered. Borrower
warrants and will defend
generally the title to the
Property: against all claims and
demands, subject to any
encumbrances of record.

8 It is not clear from the record how the
subject property was titled at the time the
mortgage was executed by Mr. and Mrs.
Smith. Reverse Mortgage Solutions's verified
complaint, however, alleges that Mrs. Smith
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is the owner of the subject property, an
allegation Mrs. Smith admits in her answer.

2 Paragraph 17 of the mortgage reads, in
relevant part, as follows: “This Security
Instrument shall be governed by Federal law
and the law of the jurisdiction in which the
Property is located.”

40 The record is replete with proof that the
subject mortgage is a “home equity
conversion mortgage” issued and insured
under the auspices of 12 U.S.C. § 1715z—-20.
The subject mortgage references: (i) a Federal
Housing Authority case number, (ii)
requirements promulgated by the HUD
Secretary, (iii) certain events of default
triggering the lender's right to foreclosure if
authorized by the HUD Secretary, (iv) the
right of the lender to accelerate the amounts
secured by the mortgage if the HUD Secretary
notifies the lender within eight months of
loan initiation that the loan is not insurable
pursuant to the National Housing Act (which
includes 12 U.S.C. § 1715z-20 ), Additionally,
both the verified complaint and the mortgage
expressly reference a second mortgage—in
which HUD is the mortgagee—securing any
payments HUD might make on behalf of the
Borrower pursuant to the National Housing
Act. Indeed, HUD was named as a defendant
in the action and HUD's second mortgage was
foreclosed in the Final Judgment of
Foreclosure.

1 It appears that, as part of the reverse
mortgage origination process, some reverse
mortgage originators are alleged to have
advised one elderly spouse to execute a quit-
claim deed, deeding their jointly owned
property to the other spouse, so that a single
“Borrower” would appear on all paperwork.
See, e.g., Bennett, 703 F.3d at 585 ; Welte v.
Wells Fargo Bank, N.A., No. EDCV-13-
00463JGB, 2013 WL 6728889 at *2-3
(C.D.Cal. Dec. 18, 2013) ; Wiseman v. First
Mariner Bank, No. ELH-12—2423, 2013 WL
5375248 at *4 (D.Md. Sept. 23, 2013). No
such allegations have been made in this case.

 

In fact, as mentioned earlier, the verified
complaint specifically alleges that Mrs. Smith
owns the subject property, and Mrs. Smith
executed the subject mortgage. We need not,
and do not, reach the issues implicated in
those cases where the nature of the surviving
spouse's ownership interest in the subject
property is in dispute.

122 Of course, nothing in this opinion should be
construed to limit Reverse Mortgage
Solutions's ability to file a new foreclosure
action upon the future occurrence of any of

the conditions precedent outlined in
Paragraph 9 of the subject mortgage.
4a The “principal residence” issue was

squarely before the trial court. In her Answer,
Celia Smith asserted as a defense that “This
mortgage should not be accelerated as the
defendant, CELIA ELMIRA SMITH, is still
alive andliving in the real property as her

’ homestead.” (emphasis added). The majority

seeks solace from the fatal flaw in its
reasoning in this case by latching onto a
statement of Reverse Mortgage's counsel on

an unsworn form required for the processing

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of residential foreclosure cases during the
foreclosure crisis, which was filed with the
complaint in foreclosure in this case. See ff. 2.
The form can provide no succor to the
majority. Pleadings and attachments are no
substitute for a trial transcript and exhibits.
See Fallon v. City Furniture, 959 So.2d 306
(Fla. 3d DCA 2007) (“Pleadings are
inadmissible to prove a fact in issue.”). Nor
does the form contribute any information
concerning whether Ms. Smith resided on the
property as of the date of trial, which no one
contests as being the critical moment, See
Majority Op. at p. 224,

44 The majority insinuates that Celia Smith
may have been in title to the property at the
time Kenneth Smith executed the mortgage.
The majority places its reliance for this
inference on the allegation found in
Paragraph 7 of the Verified Complaint for
foreclosure that ‘“Defendant(s), CELIA
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ELMIRA SMITH, own(s) the property.” Of
course, the Verified Complaint for foreclosure
was filed after Kenneth Smith's death.
Ironically, if one were to carry the insinuation
of the majority to its logical conclusion, then
Celia Smith would be a borrower, liable under
the promissory note as well. See Maj. Op. at p.
226 (“ ‘BY SIGNING BELOW, Borrower
accepts and agrees to the terms and
covenants contained in the Security
Instrument ...’ ”); see also R. at 16
(“[Mortgage Agreement Paragraph  1:]
Payment of Principal and Interest. Borrower
shall pay when due the principal of, and
interest on, the debt evidenced by the note.”).
The logic of the majority has the additional
unintended consequence of placing Reverse
Mortgage Solutions, Inc. in violation of 12
C.F.R. § 202.7(d)(1) (2014) (“A creditor shall
not deem the submission of a joint financial
statement or other evidence of jointly held
assets as an application for joint credit.”).

45 The United States Department of Housing
and Urban Development.

16 Technically speaking, the HECM program is
administered by Federal Housing
Administration, commonly known as the
FHA. The FHA is an agency housed within the
United States Department of Housing and
Urban Development. The FHA was created
pursuant to the National Housing Act of 1934,
Pub. L. No. 73-479, 48 Stat. 847 (1934), and
has long had as its purpose the expansion of
mortgage access and the enablement of home
ownership. In this case, it simply forgets its
place in our constitutional firmament.

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Edwards v. Reverse Mortg. Solutions, inc., 187 So.3d 895 (Fla. App., 2016)

 

187 So.3d 895

Johnnie Mae EDWARDS, Appellant,
v.
REVERSE MORTGAGE SOLUTIONS,
INC., Appellee.

No. 3D14-—2631.

District Court of Appeal of Florida,
Third District.

March 2, 2016.
Rehearing Denied March 28, 2016.

Legal Services of Greater Miami, Inc., and
Jacqueline C, Ledon, for appellant.

McCalla Raymer and Toby Foor—Pessin,
Orlando, for appellee.

Opinion
FERNANDEZ, J.

The defendant, Johnnie Mae Edwards,
appeals the entry of a final judgment of
foreclosure entered in favor of appellee,
Reverse Mortgage Solutions, Inc., in this
reverse residential mortgage foreclosure case.
Following this Court's recent opinion in
Smith v, Reverse Mortgage Solutions, Inc.,
etc., --— S0.3d -——-, 2015 WL 4257632 (Fla.
3d DCA 2015) (motions for rehearing and
rehearing en banc pending),

[187 So.3d 896]

we reverse because Reverse Mortgage failed
to establish a condition precedent to its right
to foreclose.

On November 21, 2006, Willie A. Edwards
obtained a reverse mortgage from Reverse
Mortgage using the equity in his marital
home (a home equity conversion mortgage).
Mr. Edwards signed and executed a
promissory note for the debt. The note
defines “borrower” as the person who signs at
the end of the note. Mr. Edwards, joined by

 

his wife, Johnnie Mae Edwards, secured the

debt by signing and executing a mortgage.
Mrs. Edwards appears as a borrower on the
mortgage's signature block. However, she was
not mentioned in the note, and her signature
was not on the note.

On April 10, 2008, Mr. Edwards passed away.
As per the terms of the mortgage's
acceleration provision in paragraph 9(a)(i):

Grounds for Acceleration of
Debt. Due and Payable.
Lender may require immediate
payment in full of all sums
secured by this Security
Instrument if: A borrower dies
and the Property is not the
principal residence of at least
one surviving Borrower; ...

Accordingly, Reverse Mortgage Solutions,

Ine. accelerated the debt. Mrs. Edwards failed

to pay the alleged sum due under the note
and defaulted. On November 8, 2013, Reverse
Mortgage filed a one-count foreclosure action.
Initially, Mrs, Edwards was defaulted for her
failure to appear and for failing to file any
responsive pleadings. However, she
eventually appeared pro se. A non-jury trial
was held, at which point she had obtained
counsel to represent her.

At trial, due to having been defaulted, Mrs.
Edwards was barred from testifying and from
entering affirmative defenses. Her counsel
stated that she no longer had title of the
home, having quitclaimed it to her husband
prior to his application for the reverse
mortgage. This assertion was not objected to.
Mrs. Edwards contended that despite the
default, Reverse Mortgage was still required
to prove its case. She maintained that Reverse
Mortgage needed to prove she defaulted
under the note and mortgage by failing to pay
the payment due on April 10, 2008 and all
subsequent payments. The trial court held
that Reverse Mortgage was entitled to
foreclosure because Mr. Edwards was the
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only borrower under the note, and therefore,
the only borrower for the purposes of the

mortgage's acceleration | provision.
Accordingly, as Mr. Edwards was now
deceased, the trial court entered final

judgement in favor of Reverse Mortgage. Mrs.
Edwards then filed this appeal.

We believe the issue before us today is the
exact same issue that was recently addressed
by this Court in Smith v. Reverse Mortgage,
Solutions, Inc., etc., --— So.3d ----, 2015
WL 4257632. In Smith, we found that “based
on the plain and unambiguous language of
the mortgage,” both the deceased husband
and his wife were treated as “borrowers”
under the mortgage, and each borrower was
“protected from the foreclosure of the
mortgage until both borrowers died.” Id. at —
—--, at *3 (emphasis added). Thus, we held
in Smith that the wife who survived her
spouse was a co-borrower and that her death
was a condition precedent to Reverse
Mortgage Solutions’ ability to foreclose. Id. In
Smith, as in the case before us, the surviving
spouse was a borrower under the mortgage,
but was not designated a borrower under the
note,

As in Smith, we hold that the trial court's final
judgment in the case before us should be
reversed because Reverse Mortgage has not
met the condition precedent required before
it is able to foreclose on Mrs. Edward's
property. Here, Mrs. Edwards is a co-
borrower, and her death is a

[187 So.3d 897]

condition precedent to Reverse Mortgage's
ability to foreclose on the property. Smith, ——-
— So.3d at -—-——, 2015 WL 4257632 at *5,

We agree with the reasoning in Smith that
this holding is consistent with Florida's
Homestead provisions, Article X, § 4(c),
Florida Constitution, as well as the purpose of
federal laws related to reverse mortgages
enacted to prevent the displacement of elderly

 

homeowners. See Smith, --— So.3d at -——-,
2015 WL 4257632 at *4; 12 U.S.C. § 17152z-
20(j). This provision provides, and.as we
stated in Smith, “For purposes of this
subsection, the term ‘homeowner’ includes
the spouse of a homeowner.” See Smith, -—-
So.3d at --—-, 2015 WL 4257632 at *11; 12
U.S.C, § 1715z-20()).

We adhere to Smith and agree that “it would
be difficult, if not impossible, for us to
construe [Mrs. Edwards] as anything other
than a ‘Borrower’ ”. Accordingly, Mrs.
Edwards is a “borrower” for purposes of
Paragraph 9 of the mortgage's acceleration
provision, Smith, --— So.3d at --~-, 2015
WL 4257632 at *5. It then follows that
pursuant to the acceleration clause, Reverse
Mortgage had to establish that either Mrs.
Edwards died or that as of the date of the trial
in the lower court, the property was no longer
Mrs. Edward's residence. The record reflects

_ that Mrs. Edwards is still alive, and the

property is still her residence. Accordingly,
Reverse Mortgage may not foreclose the
mortgage, pursuant to the 9(a)(i) acceleration
provision, against Mrs. Edwards, who is a
surviving borrower under the mortgage, but
not a borrower under the note.

We reverse the trial court's Final Judgment of
Foreclosure and remand the case to the trial
court to enter final judgment in favor of Mrs,
Edwards.

Reversed and remanded with instructions.
